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 1                                                            THE HONORABLE RICHARD A. JONES

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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6                                         AT SEATTLE

 7
       BLACK LIVES MATTER SEATTLE-KING
 8     COUNTY, ABIE EKENEZAR, SHARON
       SAKAMOTO, MURACO KYASHNA-
 9     TOCHA, ALEXANDER WOLDEAB,                               NO. 2:20-cv-00887
       NATHALIE GRAHAM, and ALEXANDRA
10     CHEN,                                                   DECLARATION OF ROBERT L.
                                                               CHRISTIE
11                                     Plaintiffs,

12     v.

13     CITY OF SEATTLE,

                                       Defendant.
14

15
              I, ROBERT L. CHRISTIE, hereby declare as follows:
16
              1.    I am over the age of eighteen years and am a citizen of the United States. I have
17
     personal knowledge of the facts set forth herein and am competent to testify to them at trial.
18
              2.    I am one of the attorneys of record for defendant in this matter.
19
              3.    I provided the following links to videos on Twitter to defendant’s expert William
20
     Neale:
21

       DECLARATION OF ROBERT L. CHRISTIE
       (2:20-CV-00887) - 1                                         CHRISTIE LAW GROUP, PLLC
                                                                  2100 WESTLAKE AVENUE N., SUITE 206
                                                                         SEATTLE, WA 98109
                                                                            206-957-9669
              Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 2 of 28




 1          https://twitter.com/daeshikjr/status/1287270463773609987?s=09

 2          https://twitter.com/lukeryderrr/status/1287172224588214272

 3          https://twitter.com/NLG_Seattle/status/1287427693680582656

 4          https://twitter.com/SimoneReports/status/1287223999869497345?s=20

 5          4.      Mr. Neale’s firm Kineticorp “stabilized” the above videos, inserted them onto

 6   PowerPoint slides and shared the slide deck with me through a secure link.

 7          5.      I added to the PowerPoint presentation by creating a cover page and final page. I

 8   also took screenshots of certain moments in some of the stabilized videos and added slides with

 9   those images, in each case placing the slides before the actual video. I labelled each slide with the

10   Twitter link name to indicate the source for each video or screenshot. I also added a time reference

11   for each screenshot, some editorial comment, and some circles/squares/arrows for focus. The

12   videos and screenshot images are unaltered from the original source, other than the stabilization

13   as described in Mr. Neale’s declaration and my obvious additions as described above.

14          6.      A true and correct copy of the final version of the PowerPoint presentation is

15   attached hereto as Exhibit A. A PDF version of the PowerPoint presentation is attached hereto as

16   Exhibit B.

17          7.      As required by a federal consent decree, Seattle Police Department has extensive

18   procedures to ensure the integrity of its internal force reporting and review systems. All uses of

19   force are reported by officers and reviewed by their chain of command. See section 8.400-8.500

20   of the Seattle Police Manual, available at https://www.seattle.gov/police-manual/title-8

21

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 1          8.      Under SPD Manual Section 8.500-POL-2(4), officers have 30 days from the date

 2   force is used to complete their use of force reports and for sergeants to review. They can also

 3   request extensions to this deadline.

 4          9.      For all serious uses of force, a supervisor or a team of specialized detectives

 5   responds to the scene to investigate. SPM § 8.400-POL-4 & POL-5. In this context, serious force

 6   means any force that causes or is reasonably expected to cause physical injury greater than

 7   transitory pain. See SPM § 8.050. After each investigation is complete, SPD’s Force Review

 8   Board determines whether the force complied with policy, training, and tactics, and makes

 9   recommendations, if necessary, for systemic changes. SPM § 8.500-POL-4. Throughout this

10   process, the chain of command and the Force Review Board both make referrals to the Office of

11   Police Accountability (OPA) for disciplinary investigations as appropriate. SPM § 8.500-POL-

12   4(10) & 5.002-POL-5 & POL-6.

13          10.      OPA is an independent, civilian-led agency that investigates allegations of

14   misconduct against individual police officers.    Accountability Ordinance, § 3.29.100(B) &

15   3.29.010(B). All of OPA’s investigations are reviewed by the Office of Inspector General for

16   Public Safety which makes a determination as to whether the investigation was objective,

17   thorough, and timely. Id. § 3.29.240(C). Once OPA’s investigation and the OIG’s review are

18   complete, then OPA provides the Chief of Police with case analysis and recommended disciplinary

19   findings, if any. Id. § 3.29.135.

20   ///

21   ///

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 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct to the best of my knowledge and belief.

 3          SIGNED in Seattle, Washington, this 29th day of July, 2020.

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 5                                                  /s/ Robert L. Christie
                                                  ROBERT L. CHRISTIE
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       DECLARATION OF ROBERT L. CHRISTIE
       (2:20-CV-00887) - 4                                      CHRISTIE LAW GROUP, PLLC
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                                                                         206-957-9669
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                Exhibit A is a PPT file on a CD
                    Submitted to the Clerk

                   EXHIBIT A
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                   EXHIBIT B
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Plaintiffs’ submitted videos
            Stabilized with isolated screen captures
                Submitted by the City of Seattle
 Black Lives Matter Seattle-King County et al v. City of Seattle
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      Armed individual targeted with OC spray. 3:02




https://twitter.com/daeshikjr/status/1287270463773609987?s=09
https://twitter.com/daeshikjr/status/1287270463773609987?s=09
                Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 9 of 28   5:66
          Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 10 of 28
Woman grabs and pulls backwards against baton and is sprayed. 6:86




     https://twitter.com/daeshikjr/status/1287270463773609987?s=09
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https://twitter.com/daeshikjr/status/1287270463773609987?s=09
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Officer giving directions to move back. 2:10




                             https://twitter.com/lukeryderrr/status/1287172224588214272
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OC spray deployed in a targeted non-sweeping burst. 13:47




                                https://twitter.com/lukeryderrr/status/1287172224588214272
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Armored individual with leaf blower. 18:75




                https://twitter.com/lukeryderrr/status/1287172224588214272
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https://twitter.com/lukeryderrr/status/1287172224588214272
                       Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 16 of 28




Legal Observer’s starting position. 0:00




                             https://twitter.com/NLG_Seattle/status/1287427693680582656
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Officer begins a targeted release of OC spray at an individual out of frame. 1:75

                                       https://twitter.com/NLG_Seattle/status/1287427693680582656
                          Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 18 of 28


     Legal Observer moves left towards stream while filming. 2:28




Spray cloud to her left




                                          https://twitter.com/NLG_Seattle/status/1287427693680582656
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             https://twitter.com/NLG_Seattle/status/1287427693680582656
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Nurse was not providing medical aid.
She was de- arresting an individual.


                       Elise Barrett, Dkt. 54


                      https://twitter.com/SimoneReports/status/1287223999869497345?s=20
https://twitter.com/SimoneReports/status/1287197567772553216?s=20.
                              Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 0:00
                                                                                Page 21 of 28
https://twitter.com/SimoneReports/status/1287197567772553216?s=20
                  Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 22 of 28




    Dropping her backpack 6:70
                                                               Moving to engage the police 10:58
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https://twitter.com/SimoneReports/status/1287197567772553216?s=20
                             Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 24 of 28



                                 OC spray deployed as she tries to de-arrest. 11:89




https://twitter.com/SimoneReports/status/1287197567772553216?s=20
                            Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 Page 25 of 28

               Bottle thrown at officer involved. 13:66




https://twitter.com/SimoneReports/status/1287197567772553216?s=20
                                 Case 2:20-cv-00887-RAJ Document 80 Filed 07/29/20 16:93
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https://twitter.com/SimoneReports/status/1287197567772553216?s=20
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https://twitter.com/SimoneReports/status/1287197567772553216?s=20
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Elise Barrett
• Q13 Fox Reporter: What were you trying to do in that moment
  before you go sprayed?

• Nurse: “Pull the guy away. I mean, I’ve seen footage from Hong
  Kong, of like, how you have to get people away from the cops
  because once they get them they arrest them, they brutalize them,
  they beat them, they look like, I saw the guy with the
  baton……..”      “I saw the guy with the baton, I saw the guy they
  tried to drag down and thought no no, shit no. So yeah”
